Case 2:13-cv-00844-SPC-DNF Document 22 Filed 03/03/14 Page 1 of 2 PageID 85



                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION

KATIE MURPHY,

                   Plaintiff,

v.                                                             Case No: 2:13-cv-844-FtM-38DNF

NCO FINANCIAL SYSTEMS, INC.,

                 Defendant.
                                                    /

                                                  ORDER1

        This matter comes before the Court on the Plaintiff Katie Murphy and the

Defendant, NCO Financial Systems, Inc.'s Joint Stipulation for Voluntary Dismissal (Doc.

#21) filed on February 28, 2014. Federal Rule of Civil Procedure 41(a)(1)(A), allows a

plaintiff to dismiss a case without a court order. The Rule reads in pertinent part:

                          Subject to Rules 23(e), 23.1, 23.2 and 66 and any applicable federal
                          statute, the plaintiff may dismiss an action without a court order by
                          filing:
                          (i)     A notice of dismissal before the opposing party serves either
                                  an answer or a motion for summary judgment; or
                          (ii)    A stipulation of dismissal signed by all parties who have
                                  appeared.

Fed. R. Civ. P. 41(a)(1)(A).

        In this instance, the Plaintiff and Defendant inform the Court the Parties have

settled the case and advise that the Plaintiff voluntarily dismisses the Complaint with


1 Disclaimer: Documents filed in CM/ECF may contain hyperlinks to other documents or Web sites. These
hyperlinks are provided only for users’ convenience. Users are cautioned that hyperlinked documents in
CM/ECF are subject to PACER fees. By allowing hyperlinks to other Web sites, this court does not endorse,
recommend, approve, or guarantee any third parties or the services or products they provide on their Web
sites. Likewise, the court has no agreements with any of these third parties or their Web sites. The court
accepts no responsibility for the availability or functionality of any hyperlink. Thus, the fact that a hyperlink
ceases to work or directs the user to some other site does not affect the opinion of the court.
Case 2:13-cv-00844-SPC-DNF Document 22 Filed 03/03/14 Page 2 of 2 PageID 86



prejudice. Since all Parties agree to the dismissal with prejudice, the case is due to be

dismissed with prejudice pursuant to Fed. R. Civ. P. 41.


       Accordingly, it is now

       ORDERED:

       The Plaintiff Katie Murphy and the Defendant, NCO Financial Systems, Inc.'s Joint

Stipulation for Voluntary Dismissal (Doc. #21) is GRANTED. The case is DISMISSED

with prejudice.    The Clerk of the Court is directed to enter judgment accordingly,

terminate all pending motions, and close the file.

       DONE and ORDERED in Fort Myers, Florida this 3rd day of March, 2014.




Copies: All Parties of Record




                                            2
